
Freedman, J. (dissenting)
This is a submission of a controversy upon an agreed state of facts, and the sole question is whether the St. Paul’s African Methodist Episcopal Church in Morrisania as a corporation can pass a good and sufficient title to real estate in the *126absence of evidence that there were seals affixed to the original certificate of incorporation, such original certificate having been lost and the record failing to show that there was a seal or seals affixed and there being no evidence whatever that a seal or seals had ever been affixed. The certificate in question appears to have been signed by two of the members of the church. It was also acknowledged by them before a notary public, and then recorded in the office of the clerk of the county of Westchester. The record contains no mark or marks indicating that there was a seal or seals affixed.
The statute (2 R. S., 6th ed., p. 413, § 4; 7th ed., p.1654), prescribes that the two members of the church who preside at the first election of trustees, shall as returning officers certify under their hands and seals certain matters, which certificate shall be recorded, and thereupon such trustees and their successors shall be a body corporate. Until that is done there is no corporation.
The fact that the certificate as recorded does not appear to have had seals, is not necessarily fatal. Parol evidence may be given that the certificate was in fact executed under seal, and in the case of The Trustees of the St. Jacob’s Lutheran Church of the town of Eden v. Bly, 73 N. Y. 323, upon which the plaintiff here relies, such parol evidence was given.
There being no such evidence in the case at bar, the defendant is entitled to judgment with costs as prayed for in the submission.
